                          4:18-cv-04063-SEM-TSH # 8   Page 1 of 6
                                                                                          E-FILED
                                                               Tuesday, 03 April, 2018 04:45:18 PM
                                                                     Clerk, U.S. District Court, ILCD
                     UNI TED STATES DISTICT COURT
                              CENTRAL DI STRICT

                          FOR THE STATE OF I LLI NOIS



                                        )
AARON O'NEAL                            )
                                        )
  Plainti ff ,                          )
                                        )               Case No. 4:1 8-c v-04063-
                                        )
                                        )                           SEM-TSB
        vs.                             )
                                        )
                                        )
                                        )
MANUEL ROJAS, et al .                   )
                                        )
         De f e ndants,                 )
                                        )



                      "SUPPLEMENTARY MOTI ON TO CORRECT TffE
                          CIVIL ACTION COMPLAINT".



   Plaintiff woul d hereby ask that the abo ve court please ta ke not ice

that plaintiff in thee above cause was incorrect when mentioning t ha t

(D eacon Joe LaHood) in paragrah (8} of the o rgi nal comp l a int is ~be

Hea d o f Catholic Prison Ministries for the Stat e o f Ill i no is Depart -

ment of Corrections, for Defendant (Deacon Joe Laqood) i s in fact
"Head of The Pri son Ministry Coordinator for the Archdi c ese of Peoria"

At all times re l e vant to t his c laim, Defendant LaBood labo red under
color of State law. He is sued in his indiv i dual and o f f i cial capaci-

ties.
                 4:18-cv-04063-SEM-TSH # 8      Page 2 of 6



Plaintiff also would hereby    as~    that the abov e court in cause:

4:18-cv-040 63-SEM-TSH O'Neal vs Rojas et al. Please          ta~e   notice

that plaintiff also made a minor "typographical error" when ma-

king reference to an exhibit in which plaintiff titled as Exhi-

bit (N) of plaintiff's original complaint marked as; (Foot Note) 4.


             (Bottom Of Page(FOOT NOTE 4.)



Is a artical in which "The Chicago Tribune" had printed in its

newspaper on (March 10,2017) on a friday,          by Erin Gallagher of

Daily Southtown. and not in the year of 2007 in which Plaintiff

mistakenly cited, for it is in fact printed on (March 10i201V.)

as to reference to:
                        "Corned beef dispensation granted to area

                         Catholics on Lenten St. Pat's Friday".


                                     Sincerely,

                                ~
 O'Neal v.   ~ojas   et al.          Mr.Aaron O'Neal
                                      N'53022
                                      T-Ienry Hill C .C.
 Case No. 4 : 18-cv-04063-
                                      r.alesbur~. IL.
                                          61401.
 SEM-TSH.



"Each document attached t~ this Supplementary motion".
                    4:18-cv-04063-SEM-TSH # 8   Page 3 of 6


   6. Defendant FREDDIE BRITTON, is Dietary Supervisior at HHCC,
1327 Linwood Road, Galesburg, Illinois, and is responsible for
ensuring the preperation and the issuing of inmate religious dietary
meals , inter alia, commensurate with their dietary religious tenets.
At all times relevant to this claim, Defendant Britton labo r ed under
color of State law. He is sued in his individual and official capacities.
   7. Defendant ROBERT RODRIGUEZ, is volunteer Chaplain at HHCC, 1327
Linwood Road, Galesburg, Illinois 61401, and is responsible for
assisting chaplain Rojas in arranging and coor dinating various aspects
of eath0llc inmates religious spiritual and dietary needs. At all times
relevant t o this claim. Defendant Rodriguez labored under color of
State law. He is sued in his individual and official capacities. (For
Purpose Of Serving Summons Defendant Ridriguez is based At Catholic
Diocese of Peoria, 419 N.E. Madison Avenue, Peoria, Illinois 61603).
   8. Defendant JOE LAHOOD is head of Catholic Prison Ministries for
the State of Illinois Department of Corrections and is responsible
for assisting the Illinois Department of Corrections in establishing
prison protocol for Catholic ministries, inter alia, advocatinig for
prison inmates need to adhere to specifc dietary needs. (For Purpose
Of Serving Summons Defendant LaHood is based at Catholic Diocese of
Peoria, q19 N.E. Madison Avenue, Peoria, Illinois 61603).1·

_ 9. Defendant, JOHN FROST, is Counselor at HHCC, 1327 Linwood Road,
Galesburg, Illinois 61401, and is responsible for investigating matters
related to i nmate grievances and articulating the facts therefrom . At
all time relevant to this claim, Defendant Frost labored under color
of State law. He is sued in his individual and official capacities.




  Foot Note 1     At al l t i mes relevant to thi s claim, Defendant
                  LaHood labored under co l or of State law. He is
                  sued in his individual and official capacities.
                            4:18-cv-04063-SEM-TSH # 8              Page 4 of 6




Grievance Date: April 14, 2016

Offender: Aaron O'Neal N53022

Response from: Chaplain Rojas

"Offender A. O'Neal is incorrect when he accuses the Chaplain of discrimination. Cursillo is not a
mandatory service therefore there can be no discrimination when the reason for leaving participants out
was for the safety and security of the institution and volunteers. There was no way to know who
attended that night, so the decision was made to allow the newer Cursillo participants to come. O'Neal
has been participating for many years. Many others were left out not because discrimination but for all
the years that they have already participated.

The Lent observance issues and food was explained to me by Deacon Joe LaHood (Prison Ministry
Coordinator for the Archdiocese of Peoria). Lent is an observance about giving up something that is
important, not necessarily food. The abstention from red meat is a tradition but it does not mean that it
has to be fish. Lent is not a sacrament. We do not disallow the observance and dietary has as much as
penalogical interest has allowed to offer fish on Fridays.

I will not answer any of his questions without legal representation. I cannot satisfy his FOIA because it
would violate rules. No offender can have any information about another one."




I have transcribed this just as the respondent responded.




                                                   July 13, 2016

John Frost, CC2                                   Date




                                                         PhAI~TIFF'S       EXHIBIT M.
                     4:18-cv-04063-SEM-TSH # 8   Page 5 of 6


   50. Because the listed witness were IDOC authorized volunteers,
the process for contacting them would not have created any burden
on Defendant Frost, Gans, Dorethy, Phoenix, and Baldwin and would
have validated Plaintiff's request to properly observe his reli-
gious faith during Lent ,requiring a meatless supplement for his
dietary needs.
   51.Initially, Plaintiff O'Neal's grievance was reviewed by Defen -
dant Frost, who disregarded Plaintiff's witness request, and proceeded
with an unfair assessment of Plaintiff's grievance by only contacting
Defendant Rojas. (Ex. [.)
   52 . Defendant Frost failed to consul t with the Religio us Practice
Advisory Board protocol, but instead chose a one - sided version of a
serious constitutional violation. (Ex. M.) 4 •
   53. Defendant Gans continued the unlawful practice of den ying
Plaintiff O'Neal's right to observe his sincerely held religious be-
liefs when he failed to also consult with Plaintiff's witnesses and
relevant sections of the Religious Practive Advisory Board as outlined
in AD 04.25.101; 730 ILCS 5/3-2 - 2 and 3 - 7- 2; and 20 Ill.Adm.Code 425,
leading him to consult the Religious Practice Advisory Boards Handbook
at page 83(5) bearing out Plaintiff's claim for the required non - meat
dietary supplement during the Lenten period.
   54. Defendant Gans sought out only portions of the Administrative
Rules and Regulations, encompassed with the AD's to deny Plaintiff
O'Neal's free practice of his religion on August 4, 2016.
   55. Both, Defendant's Gans and Dorethy's response have no force
and effect where the signature for the Chief Administrative Officer


Foot Note 4    Federal Courts have found that it is the sincerity of
               a prisoners beliefs; not the decision of religious
               authorities that determine whether a prisoner is an
               adherent of the tenets entitling a dietary supplement.
               See Jackson v. Mann, 196 F.3d 316, 320 - 21 (2d Cir. 1999)
               Plaintiff also requests this Honorable Court take
               judicial notice of the March 10, 2007 Chicago Tribune
               news article at paragrahs 7 thru 11 to the point of
               personal choice, marked as Exhibit~xhibit N.
                                               4:18-cv-04063-SEM-TSH # 8                             Page 6 of 6




  \ Chicago State settling 2014 whistleb.
        Former employee                                                                                                 Court cauea me uru•-ers1t'y's
                                                                                                                        behavior "thoroughly rep-
        getting $4.3M after                                                                                             reheilSlble" and suggested
        being fired in 2010                                                                                             Watson and his top lieuten·
                                                                                                                        ants acted with "malice and
        BY JODI S. COHEN                                                                                                deceit." .
        OUcoao Tribune                                                                                                  ~i:.lost month..


     Corned beef dispensation
     granted to area Catholics                                                .... :t.:::

     on Lenten St. Pat's Friday
     BY E RtN GJU.LAGHER             ing corned bee("             I
     Daily Southtown                    Bishops David Malloy of 1
                                     Roclcford and Donald Hy- ;
       Chicago-area Catholics        ing of Gary have also grant· !
     will be able 10 celebrate St    eel dispensations. Malloy in 1
     P-.mick's Day with comed        a statement said he was '
     beef this year, despite the
     feast day falling on a Friday
                                     doing so while "exhorting
                                     the faithful to exercise mod-
                                                                      j
     in wt, church leaders said.     eration and temperance in j'
        C4rdinal Blase CupiclJ,      their festivities."
     leader of the ChiC'ago Arch·
     diocese, has set aside the
                                        However, the Diocese of
                                     Springfield, which includes
                                                                      !
     church's practice of avoid-     28 counties in central llli-
     ing meat on Fridays for         nois, said it is nor granting a
     March 17, as have the bish-     St. Patrick's Day dispensa-
     ops of the Joliet, Rockford     tion. The diocese is encour-
     and Gary dioceses.              aging Catholics to abstain
          "Cardinal Cupich has       from meat on Mnrch 17 to
     given a general dispensa-       honor "the. heroic virtue
     tion co Cad1uli"5 &om ab-       and sacri!iC"'" St. Patrick
     Staining from meat on this      made in his life      .
     day;" according   to Chicago       Puring the 40-day sea·
    archdiocese spokeswoman          son ofLent, Catholic;, ready
     Colleen Tunney-Ryan. "Ca-       themselves for Easter
     tholics in the Archdiocese      through prayer, giving nlms
     of  Chicago who choose to_      and fa,o,-ting that includes
     make use of this gcnual         avoiding meat on Fridl\)'S.
     dispensation are aslced to         In Oak Lawn. the Rev.
    sub<.'titute for another fonn    Lawrence Malcolm, pastor
    of penance for the J-enten       ofSt Gerald Church, 9310 S.
    :f•riday abstinence."            55th Court, said t.ltc dis-
     · In n statement Joliet         pensation will allow his
    Bishop R. Daniel Conlon          parishioners to celebrate St.
    said. "My name is Conlon -       Patrick's Day by eating
    very Irish. More signifi-        corned beef; a tradition
    cantly r am Catholic, and        started among Irish-Ameri-
    of
                   •n
    Lent is important senson
        prayer, penance and
                                     cans.
                                        Corned beef became
    charity. If some fellow Ca-      popular among Irish im-
    tholics within the Diocese       migrants here but is not
    of Joliet f.,.,J that eating     common in Ireland, he snid.
    meat on St. Patrick's Pay -         "Since St Patrick is so
    which d1is year falls on a       important to Irish Catholics
    Friday - is important            and what he's done for the
    enough to break the rule of      counay, I think i1's very
    abstinence, they are permit-     importnnt for the Cardinal
    ted to make a conscientious      tO recognize that," said the
    decision to do so. In that       Rev. Benedykt Pazdan, pas-
    case, they should substitute     tor of St. Bernadette Parish,
    some other form of pen-
    ance.
      "For myself; I ..,e no-
                                     9343 S. Francisco Ave., Ev-
                                     ergreen Park.                        .
    connection between hon-
    oring      91e
              pall'On saint, an~
   _apostle of Ireland and, eat-
           .. ,,.,..
..a.li-~ -_.
                                     Erin Ga/l<lgher is a fiwlance
                                     reporter.for the Dp.ily South-
                                     town..
                                                   ~
                                                    1

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                                                                          \


                                                                                            PLAINTI FF ' S EXHIBIT N.
